                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION

                                        No.7:07-CR-101-2-FL(3)




 UNITED STATES OF AMERICA,                       )
                                                 )
                                                 )
                      v.                         )
                                                 )
                                                 )                     ORDER
 OTIS WALDRON a/k!a                              )
 BRUCE MILLINGTON,                               )
                                                 )
                           Defendant.            )
                                                 )

       This matter is before the court on the Memorandum and Recommendation ("M&R") of

United States Magistrate Judge William A. Webb, regarding defendant's motion to suppress (DE #

53). No objections to the M&R have been filed, and the time within which to make any objection

has expired. The issues raised are ripe for ruling.

       After careful review of the record and the facts proposed to be found, the court finds no error

and adopts the statement of facts, carefully set forth by Judge Webb, as its 0""11. The legal

conclusions reached are correct, and this court ADOPTS the recommendation of Magistrate Judge

Webb, that suppression is not warranted. Defendant's motion is DENIED.

       SO ORDERED, this the ~ day of September, 2008.




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